  Case: 1:13-cv-09116 Document #: 195 Filed: 07/02/15 Page 1 of 1 PageID #:4917
       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 1:13-CV-09116
In re: NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION STUDENT-ATHLETE CONCUSSION
INJURY LITIGATION


AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
ADRIAN ARRINGTON, Plaintiff




NAME (Type or print)
Robert A. Clifford (rac@cliffordlaw.com)
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Robert A. Clifford
FIRM
Clifford Law Offices, P.C.
STREET ADDRESS
120 N. LaSalle Street, Suite 3100
CITY/STATE/ZIP
Chicago, Illinois 60602
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
0461849                                                 312.899.9090

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES   ✔          NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO    ✔

ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES   ✔          NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   ✔   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
